LAW OFFICES OF ANDREW C. LADD, LLC

707 W. Moreland Blvd., Suite 7
Waukesha, WI 53188-2400

(262) 542-3900 FaX (262) 542-7460
Andrew C. Ladd Thomas J. Schneck

 

February 26, 2018

Honorable Susan V. Kelley,
Bankruptcy Court Judge

United States Bankruptcy Court
517 E. Wisconsin Avenue
Milwaukee, WI 53202-4581

RE: Todd J. Kompas
Case No. 17-28883-svk

Dear Judge Kelley:

Please be advised that this matter is scheduled for `a continued motion hearing on February 27,
2018, at 11:00 a.m. on my client, Brew City Countertops and Millwork, Inc.’s, objection to the
Debtor’s request to authorize leasing of the property. In light of an agreement reached by the
Debtor and my client, as well as recent developments in regard to the Debtor’s Motion
Authorizing Sale of Property and the Request to Amend his Unconfirmed Chapter 13 Plan, Brew
City Countertops and Millwork, Inc. hereby withdraws its objection to Debtor’s request.

Please remove and cancel the hearing scheduled for February 27, 2018, at 11:00 a.m.
Sincerely,

Thomas J. SW

Attorney at Law

TJS/dah

c: Attorney Mont Martin

Attorney Robert Pyzyk
Mr. Ronald Uecke, Brew City Counterops and Millwork, Inc.

 

 

andy@laddlawllc.com www.laddlawll .c m tschneck@laddlawllc. com
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